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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY



 ACP GP, LLC, et al.,
                                                     Case No. 18-cv-13147-CCC-ESK
               Plaintiffs,

 v.
                                                                   ORDER
 MOTIVATIONAL COACHES OF
 AMERICA, INC., et al.,

               Defendants.


       THIS MATTER having come before the Court for a telephone status conference
 on April 6, 2020 and for good cause shown,


        IT IS on this 6th day of April 2020 ORDERED that:

        1.   A telephone status conference is scheduled for May 8, 2020 at 10:00 a.m.
 before Magistrate Judge Edward S. Kiel. The parties shall file a joint letter, at least three
 business days before the conference advising of the status of discovery, any pending
 motions, and any other issues to be addressed.

       2.   The parties shall respond to written discovery requests that were previously
 propounded pursuant to the Court’s Order of January 29, 2020 (ECF No. 50) on or before
 May 7, 2020.

        3.     Plaintiffs may respond to defendant Julio Avael’s request to stay discovery (ECF
 No. 52) on or before April 20, 2020.



                                                       /s/ Edward S. Kiel
                                                      Edward S. Kiel
                                                      United States Magistrate Judge
